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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 AEGIS ELECTRIC & GAS
 INTERNATIONAL SERVICES
 LIMITED,

       Plaintiff,                           Case No.: 1:17-cv-03657-LMM

 v.

 ECI MANAGEMENT LLC (formerly
 known as ECI Management
 Corporation), NICHON ROBERSON,
 on behalf of herself and all others
 similarly situated,

              Defendants.

                       SATISFACTION OF JUDGMENT

      WHEREAS, a Judgment was entered in the above action (the “Action”) on

January 5, 2022 (the “Judgment”), in favor of ECI Management LLC (“ECI”) and

against AEGIS Electric & Gas International Services Limited (“AEGIS”) in the

amount of $600,000.

      WHEREAS, ECI and AEGIS have reached an agreement (the “Agreement”)

for final resolution of the Action and full satisfaction of the Judgment, including any

post-judgment interest and the taxable costs.

      WHEREAS, AEGIS has fully performed its obligations in satisfaction of the

Judgment under the Agreement.
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      THEREFORE, full and complete satisfaction of the Judgment, including any

post-judgment interest and the taxable costs, is hereby acknowledged by the parties,

and the Clerk of the Court is hereby authorized and directed to make an entry of the

full and complete satisfaction on the docket of the Judgment.

      Respectfully submitted, this 28th day of March, 2022.

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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

AEGIS ELECTRIC & GAS
INTERNATIONAL SERVICES
LIMITED,

      Plaintiff,                            Case No.: 1:17-cv-03657-LMM

v.

ECI MANAGEMENT LLC (formerly
known as ECI Management
Corporation), NICHON ROBERSON,
on behalf of herself and all others
similarly situated,

             Defendants.

                    CERTIFICATION OF COMPLIANCE

      I certify that the foregoing document was prepared using double spacing and

Times News Roman, 14-point font, as required by Local Rule 5.1(c).

      Respectfully submitted, this 28th day of March, 2022.

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 AEGIS ELECTRIC & GAS
 INTERNATIONAL SERVICES
 LIMITED,

       Plaintiff,                               Case No.: 1:17-cv-03657-LMM

 v.

 ECI MANAGEMENT LLC (formerly
 known as ECI Management
 Corporation), NICHON ROBERSON,
 on behalf of herself and all others
 similarly situated,

              Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that I have filed the foregoing Satisfaction of Judgment with

the Clerk of the Court using the CM/ECF system, which will automatically send

email notification of such filing to all attorneys of record in this action.

      Respectfully submitted, this 28th day of March, 2022.

 FIELDS HOWELL LLP                          /s/ Zachary J. Ferreira
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